
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-368-CV



PHILLIP AMBURN AND ALL OCCUPANTS OF 7220			APPELLANT
 

RAGAN PLACE, THE COLONY, TEXAS
	





V.



HSBC BANK USA, N.A.
	APPELLEE



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FROM COUNTY COURT AT LAW NO. 2 OF
 
DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT



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On September 16, 2008 and September 26, 2008 &nbsp;we notified appellant, in accordance with rule of appellate procedure 42.3(c), that we would dismiss this appeal unless the $175 filing fee was paid. &nbsp;
See
 Tex. R. App. P. 42.3(c). &nbsp;Appellant has not paid the $175 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellant has failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court’s order of August 28, 2007,
(footnote: 2) we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P. 42.3(c), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P.
 43.4.

PER CURIAM





PANEL: &nbsp;CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ. &nbsp;



DELIVERED: &nbsp;October 16, 2008.
 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.


2:See
 Supreme Court of Tex., 
Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals and Before the Judicial Panel on Multidistrict Litigation
, Misc. Docket No. 07-9138 (Aug. 28, 2007) (listing fees in courts of appeals).




